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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  DUBLIN DIVISION



UNITED STATES OF AMERICA                                  *

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         V.                                                             CR 313-009                           p-n
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ALFREDO LEON ALEJO                                                                                                 <r~i
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                                                                                                        >1                 ●-CO
                                             ORDER




         On July 7,      2020,   Defendant Alfredo Leon Alejo filed a motion

for compassionate release under 18 U.S.C.                                § 3582(c) (1) (A)                   claiming

to have a serious medical condition that makes him a more serious

health risk in the present circumstances of the COVID-19 pandemic.

The Government opposed the motion.

         The   \\                         release //
                    compassionate                              provision            of         §    3582(c) (1) (A)

                                                                              in
                                                                                     \\
provides       a     narrow   path        for    a        defendant                       extraordinary               a.nd

                                     tr
compelling circumstances                  to leave prison early.                               In consideration

of   a   compassionate        release           motion,          the     Court            is       constrained            to

follow the applicable policy statements issued by the United States

Sentencing          Commission.           See        18        U.S.C.     §        3582(c) (1) (A) .                  The

existing       policy     statement,            U.S.S.G.          §     1B1.13,            provides            that       in

addition to the existence of extraordinary and compelling reasons.

the defendant must not present a danger to the safety of any other

person or the community.                  Application Note 1 lists three specific
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examples    of    extraordinary            and    compelling             reasons          to   consider

reduction of a defendant's sentence under § 3582(c) (1) (A) : (1) a

serious    medical     condition;           (2)       advanced          age;        and   (3)       family

circumstances. Id. n.l(A)-(C). 1

       Defendant's     motion          possibly implicates the first category.

                                                                               \\
The Sentencing Commission has clarified that a                                      serious physical

                           If   \\
or medical condition                 substantially diminishes the ability of the

defendant    to    provide            self-care       within           the    environment            of   a

correctional facility and [is one] from which                                  he or she is not

                           //
expected to recover.                 U.S.S.G. § 1B1.13, n.l(A)(ii).                        Defendant,

who is only 28 years old, has not presented argument or evidence

that he can meet this standard.                       Instead, he indicates that he

suffers from asthma and hypertension, conditions upon which COVID-

19 may have a severe impact.

       The CDC lists hypertension or high blood pressure and asthma

(moderate-to-severe)            as     conditions       that "might" place                     a    person

with   COVID-19    \\ at   an        increased       risk        for   severe        illness. //       See

Centers     for    Disease            Control,        People           with         Certain        Medical

Conditions,       available           at   https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-conditions.html



1                                                              \\ As
 The application note also provides a catch-all category:
determined by the Director of the Bureau of Prisons, there exists
in the defendant's case an extraordinary and compelling reason
                                                            ff
other than, or in combination with,      the aforementioned three
categories.  Id. n.I(D).  The  Court has  not been made aware that
the BOP Director has sanctioned Defendant's early release.

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(last visited on October 13, 2020).                       However, at this point, the

Court     cannot     conclude      that    the       "might"     category   qualifies    an

illness as sufficiently serious to warrant compassionate release

in and of itself.2           Defendant has also advised that his medical

history includes gall bladder                  removal,      a   collapsed lung, and a

deficient immune system.                However, the medical records submitted

by the Government do not indicate that Defendant presently suffers

from any of these conditions.                    In fact, in the latest notation.

Defendant      is    released      to    unlimited        activity    including    playing

soccer.       (Gov't Resp. in Opp'n, Ex. A, at 2.)                   In short. Defendant

bears the burden of establishing that he is uniquely positioned to

be so adversely affected by COVID-19 that his release is warranted.

He has not done so.

        Moreover, prior to ordering release, the Court must consider

the sentencing factors of 18 U.S.C. § 3553(a).                          See 18 U.S.C. §

3582(c)(1)(A).           In Defendant's case, these factors weigh against

his    release      in   light   of      the   nature      and    circumstances    of   his

offense.       Here, the Court notes that Defendant's criminal history

reveals a propensity for drug dealing particularly given the fact

that     he    continued      to        engage       in   heroin     trafficking     while



2 According to Defendant's medical records, his asthma is in the
lowest severity category at "mild intermittent," not severe,
moderate nor even mild persistent. (Gov't Resp. in Opp'n, Doc. No.
103, Ex. A, at 3.)   A chest X-ray in June 2020 was negative, and
a physical examination of Defendant in May 2020 revealed that he
had no coughing or wheezing. (Id. at 1-2.)

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incarcerated in a federal prison.           Further, because Defendant has

served just over half of his sentence, early termination of his

sentence       would fail to reflect the seriousness          of the    offense.

promote respect for the law, provide just punishment, or afford

adequate       deterrence.    Thus,   the   Court   would   not     exercise   its

discretion to release Defendant even if he qualified for release

under the compassionate release provision.

        Upon    the   foregoing.   Defendant's   motion     for    compassionate

release (doc. no. 98) and his motion for reconsideration (doc. no.

101) are DENIED.        Defendant's motion to seal Exhibit 2 to his reply

brief filed on October 7, 2020 (doc. no. 107) is DENIED AS MOOT.

The Clerk is directed to return that exhibit to Defendant along

with the service copy of this Order.

        ORDER ENTERED at Augusta, Georgia, this                   day of October,

2020.




                                            UNITED STMES DISTRICT JUDi




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